        Case
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 1   DANIEL G. BOGDEN
     United States Attorney
 2   District of Nevada
     SUSAN CUSHMAN
     Assistant United States Attorney
 3   501 Las Vegas Boulevard South
     Suite 1100
 4   Las Vegas, Nevada 89101
     702-388-6336
 5
                          UNITED STATES DISTRICT COURT
 6
                               DISTRICT OF NEVADA
 7                                                    -oOo-

 8   UNITED STATES OF AMERICA,                          )
                                                        )   Case No.: 2:16-cr-0030-JAD-CWH
                       Plaintiff,                       )
 9                                                      )   STIPULATION TO CONTINUE
                                                        )   SENTENCING
10           vs.                                        )   (Second Request)
                                                        )
11   JULIAN CRUZ-FLORES,                                )
                                                        )
12                     Defendant.                       )
                                                        )
13                 IT IS HEREBY STIPULATED AND AGREED, by and between Daniel Bogden,

14   United States Attorney; Susan Cushman, Assistant United States Attorney, counsel for the United

15   States of America and Mace Yampolsky, Esq., counsel for defendant, that sentencing in the

16   above-captioned matter currently scheduled to commence on Monday, March 6, 2017, at 10:00

17   a.m. be vacated and continued to a date and time convenient to all parties, but no earlier than 60

18   days.

19
                   This Stipulation is entered into for the following reason:
20
                   1. The government needs additional time to determine whether there will be a
21
     recommendation for a two-level reduction in the defendant’s base offense level for a group plea
22
     pursuant to United States v. Caro, 997 F.2d 657 (9th Cir. 1993).
23
                   2. The parties agree to the continuance.
24
     Case
      Case2:16-cr-00030-JAD-CWH
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 1        3. The defendant is in custody and does not object to the continuance.

 2        4. This is the second request to continue the sentencing.
 3        DATED this 23rd day of February 2017.
 4                                         Respectfully submitted,
 5                                         DANIEL G. BOGDEN
                                           United States Attorney
 6
                                           /s/ Susan Cushman
 7                                         __________________________
                                           SUSAN CUSHMAN
 8                                         Assistant United States Attorney
 9                                         /s/ Mace Yampolsky
                                           __________________________
10                                         MACE YAMPOLSKY
                                           Counsel for Defendant
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        Case
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 2                     UNITED STATES DISTRICT COURT
 3                          DISTRICT OF NEVADA
                                                  -oOo-
 4
     UNITED STATES OF AMERICA,                       )
 5                                                   ) Case No.: 2:16-cr-0030-JAD-CWH
                    Plaintiff,                       )
                                                     ) ORDER TO CONTINUE
 6                                                   ) SENTENCING
            vs.                                      )
 7                                                   )
     JULIAN FLORES-CRUZ,                             )
 8                                                   )
                    Defendant.                       )
 9                                                   )

10          Based on the pending Stipulation of counsel, and good cause appearing therefore, the

11   Court hereby orders that sentencing in the above-captioned matter be vacated and continued until

12   May 16, 2017 at the hour of 9:30 at
     _____________________________    a.m.
                                         the hour of __________ .m.

13       DATED
          DATEDthis 23rd
                  this    day
                       ____ dayofofFebruary,
                                    February, 2017.
                                              2017.

14

15                                               ________________________________
                                                 UNITED STATES DISTRICT JUDGE
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